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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                                 BILLINGS DIVISION



 ESTATE OF EDWARD R.                              CV 21-85-BLG-SPW
 CHAMPION, by and through DEBBIE
 CELLAN,individually and as Personal
 Representative,                                  ORDER


                    Plaintiff,

 vs.



 BILLINGS SKILLED NURSING
 FACILITY,LLC,d/b/a AVANTARA
 OF BILLINGS; LEGACY
 HEALTHCARE FINANCIAL
 SERVICES,LLC; CASCADE
 CAPITAL GROUP,LLC; SHAWNA
 JOHNSON; and JOHN DOES 1-25,

                    Defendants.


       This action was originally brought by Plaintiff, Estate of Edward R.

Champion (the "Estate") in the Montana Thirteenth Judicial District Court,

Yellowstone County (DV-21-0134)on February 2, 2021, against Legacy

Healthcare Financial Services, LLC; Cascade Capital Group,LLC; and Shawna

Johnson ("Johnson"). (Doc. 8.) On June 16, 2021, the Estate filed an Amended

Complaint,joining Defendant Billings Skilled Nursing Facility, LLC, d/b/a

Avantara of Billings ("Avantara"). (Doc. 9.) Avantara timely removed the action
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